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               back to the individual for a more detailed explanation prior to

               granting approval or denial.

            b. At that time I served with Robert “Bob” Ross (“Ross”) as the National

               President of APFA. Any charges made by Ross, that I questioned

               were cleared and all questions rectified. Any of Ross’s union credit

               card charges, expenses and receipts that I reviewed and approved

               were in compliance with APFA policy at the time of approval.

            c. Charges made by Robert “Bob” Ross never gave rise to any suspicion

               of theft, misappropriation, or breach of his fiduciary duty, or conduct

               unbecoming an APFA officer whatsoever.

            d. On or about May 25, 2018, I had a conversation with Robert (Bob)

               Ross regarding any outstanding charges that should be repaid to

               APFA. I informed him the charges made for his furniture for the

               APFA apartment should be repaid. He authorized me to contact

               APFA payroll and have the expenses of $3637.92 - $331.28 (deduction

               for returned furniture) deducted from his payroll, which I sent an

               email to payroll to have these funds deducted.




     FURTHER AFFIANT SAYETH NOT.

                                                _______________________________
                                                Eugenioo Vargus


Exhibit C                              2 of 2
 Case 4:22-cv-00333-P Document 3-16 Filed 04/19/22        Page 3 of 3 PageID 667




     SWORN AND SUBSCRIBED TO before me on this _____ day of April, 2022.




                                              ________________________________
                                              Notary Public, State of Texas




Exhibit C                            3 of 2
